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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (individual Adjustment of Debts)
| Original Plan

 

 

 

 

L] Amended Plan (Indicate Ist. 2nd. ete. Amended, if applicable)
{m] 8th Modified Plan (Indicate Ist, 2nd, ete. Modified, if applicable)
DEBTOR: Noemi Victorero JOINT DEBTOR: CASE NO.: 14-15098
SS#: xxx-xx- 8376 SS#: XXX-NX-
I. NOTICES -
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans. amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

 

The valuation of a secured claim. set out in Section IIT. which may result ina .

partial payment or no payment at all to the secured creditor [] Included [m] Not included

Avoidance of a judicial lien or nonpossessory. nonpurchase-money security interest. set , .

out in Section III (_] Included [m] Not included

Nonstandard provisions, set out in Section VIII ["] Included [m| Not included
UL. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEF

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benelit of the creditors the amounts listed below. including trustee's
lees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%. any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

 

 

1. $1,961.25 formonths 1 to_55
2. _$3.688.70 for months 56 to_56_
3. $1,806.66 for months 357 to_60_ :
B. DEBTOR(S)' ATTORNEY'S FEE: LI NONE = [PRO BONO
Total Fees: $4100.00 Total Paid: $2000.00 Balanee Due: $2100.00
Payable $28.64 /month (Months 1 to 55.)
Payable $525.00 ‘month (Months 36 to 56 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$2000 + $2100 (4 Motions to Mod)

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

 

Wl. TREATMENT OF SECURED CLAIMS
A. SECURED CLAIMS: [] NONE

{Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s) Lien on Real or Personal Property:

I. Creditor: (1.$. Bank Trust National Association C/O SN Servicing Corporation

 

Address: 323 Sth Strect Arrearage/ Payoll on Petition Date $38.714.54
Eureka. CA 95501 . — .

Arrears Payment (Cure) $604.96 /month (Months — | to 55)

Arrears Payment (Cure) — S2.173.98 ‘month (Months 36 to 360)

 

 

Last 4 Divits of
Account No.:

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VI.

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Debtor(s): Noemi Victorero Case number: 14-15098
Arrears Payment (Cure) $816.91 /month (Months 57 to 60. )
Regular Payment (Maintain) $1,211.53 /month (Months — | to 55)
Regular Payment (Maintain) $809.08 /month (Months 36 to 60 )
Other:
[m] Real Property Check one below for Real Property:
[m Principal Residence [w]Escrow is included in the regular payments
{ JOther Real Property [|The debtor(s) will pay [taxes [insurance directly

Address of Collateral:
6920 W. 3rd Avenue. Hialeah. FL 33014

[_] Personal Property/Vehicle

Description of Collateral: Single family home.

 

 

B. VALUATION OF COLLATERAL: [gm] NONE

C. LIEN AVOIDANCE (m] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
{fg} NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
tom the Chapter 13 Trustee.

{fa} NONE
TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. $507 and HT U.S.C. 8 1322ta)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lj] NONE
B. INTERNAL REVENUE SERVICE: [il] NONI
C. DOMESTIC SUPPORT OBLIGATION(S): [li] NONE
D. OTHER: [li] NONE
TREATMENT OF UNSECURED NONPRIORITY CREDITORS

A. Pay $32.53 month (Months 1 to 540)

 

Pro rata dividend will be calculated by the Prustee upon review of filed claims after bar date.
B. (@) If checked. the Debtor(s) will amend/modil¥ to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: — fil] NONE

*Debtor(s) certily the scparate classilication(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 ULS.C. 8 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relict in this
section shall not reecive a distribution from the Chapter (3 Trustee.

fi] NONE
INCOME TAX RETURNS AND REFUNDS: [il] NONI
NON-STANDARD PLAN PROVISIONS [lf] NONE

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Debtor(s): Noemi Victorero Case number: 14-15098

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/Noemi Victorero Debtor December 7, 2018 Joint Debtor

 

 

Noemi Victorero Date Date

Sheila M Acosta December 6, 2018
Attorney with permission to sign on Date
Debtor(s) behalf

 

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VHT.

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